AO 245D (WDNC Rev. 01/2020) Judgment in a Criminal Case for Revocation




                                                UNITED STATES DISTRICT COURT
                                                          Western District of North Carolina
    UNITED STATES OF AMERICA                                             )   JUDGMENT IN A CRIMINAL CASE
                                                                         )   (For Revocation of Probation or Supervised Release)
                 V.                                                      )   (For Offenses Committed On or After November 1, 1987)

                                                                         )
    GEORGE EDWARD BEALL                                                  )   Case Number: DNCW313CR000052-001
                                                                         )   USM Number: 28120-058
                                                                         )
                                                                         )   Peter Adolf
                                                                         )   Defendant’s Attorney

THE DEFENDANT:
  Admitted guilt to violation(s) 1 - 3 of the Petition.
  Was found guilty of violation(s) of the Petition after denial of guilt.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

  Violation                                                                                                  Date Violation
  Number           Nature of Violation                                                                       Concluded
      1            Possession of Weapon                                                                      04/29/2020
      2            Possession of Child Pornography                                                           04/29/2019
      3            New Law Violation                                                                         04/29/2019

       The Defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

  Defendant found not guilty as to violation(s) of the Petition and is discharged as to such violation(s).
  Violation(s) (is)(are) dismissed on the motion of the United States.
        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendant's economic circumstances.


                                                                                  Date of Imposition of Sentence: 9/14/2020




                                                                                  Date: September 18, 2020




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                                                                         IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
TWENTY-FOUR (24) MONTHS . THE TERM OF IMPRISONMENT IMPOSED BY THIS JUDGMENT SHALL BE
CONSECUTIVE TO THE TERM OF IMPRISONMENT IMPOSED IN 3:19CR184.

 The Court makes the following recommendations to the Bureau of Prisons:

 The Defendant is remanded to the custody of the United States Marshal.

 The Defendant shall surrender to the United States Marshal for this District:
             As notified by the United States Marshal.
             At on .

 The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             As notified by the United States Marshal.
             Before 2 p.m. on .
             As notified by the Probation Office.


                                                                           RETURN

I have executed this Judgment as follows:




Defendant delivered on __________ to _______________________________________ at

________________________________________, with a certified copy of this Judgment.




                         United States Marshal
                                                                                    By:
                                                                                          Deputy Marshal




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                                                                     SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of LIFE. to run concurrently with term
imposed in 3:19cr184.


☐ The condition for mandatory drug testing is suspended based on the court's determination that the defendant poses a low risk of
future substance abuse.
                                                               CONDITIONS OF SUPERVISION
The defendant shall comply with the mandatory conditions that have been adopted by this court.
        1.    The defendant shall not commit another federal, state, or local crime.
        2.    The defendant shall not unlawfully possess a controlled substance.
        3.    The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from
              imprisonment and at least two periodic drug tests thereafter, as determined by the court (unless omitted by the Court).
        4.    ☐ The defendant shall make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of restitution. (check if
              applicable)
        5.    The defendant shall cooperate in the collection of DNA as directed by the probation officer (unless omitted by the Court).


The defendant shall comply with the standard conditions that have been adopted by this court and any additional conditions ordered.
        1.    The defendant shall report to the probation office in the federal judicial district where he/she is authorized to reside within 72 hours of release from
              imprisonment, unless the probation officer instructs the defendant to report to a different probation office or within a different time frame.
        2.    The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer.
        3.    The defendant shall not leave the federal judicial district where he/she is authorized to reside without first getting permission from the Court or probation
              officer.
        4.    The defendant shall answer truthfully the questions asked by the probation officer.
        5.    The defendant shall live at a place approved by the probation officer. The probation officer shall be notified in advance of any change in living arrangements
              (such as location and the people with whom the defendant lives).
        6.    The defendant shall allow the probation officer to visit him/her at any time at his/her home or elsewhere, and shall permit the probation officer to take any
              items prohibited by the conditions of his/her supervision that the probation officer observes.
        7.    The defendant shall work full time (at least 30 hours per week) at lawful employment, unless excused by the probation officer. The defendant shall notify the
              probation officer within 72 hours of any change regarding employment.
        8.    The defendant shall not communicate or interact with any persons engaged in criminal activity, and shall not communicate or interact with any person
              convicted of a felony unless granted permission to do so by the probation officer.
        9.    The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement officer.
      10.     The defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was designed, or
              was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
      11.     The defendant shall not act or make any agreement with a law enforcement agency to act as a confidential informant without the permission of the Court.
      12.     If the probation officer determines that the defendant poses a risk to another person (including an organization), the probation officer may require the
              defendant to notify the person about the risk. The probation officer may contact the person and make such notifications or confirm that the defendant has
              notified the person about the risk.
      13.     The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or administer any narcotic or controlled
              substance or any psychoactive substances (including, but not limited to, synthetic marijuana, bath salts) that impair a person’s physical or mental functioning,
              whether or not intended for human consumption, or any paraphernalia related to such substances, except as duly prescribed by a licensed medical
              practitioner.
      14.     The defendant shall participate in a program of testing for substance abuse if directed to do so by the probation officer. The defendant shall refrain from
              obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of the testing. If warranted, the defendant shall participate in a
              substance abuse treatment program and follow the rules and regulations of that program. The probation officer will supervise the defendant’s participation in
              the program (including, but not limited to, provider, location, modality, duration, intensity) (unless omitted by the Court).
      15.     The defendant shall not go to, or remain at any place where he/she knows controlled substances are illegally sold, used, distributed, or administered without
              first obtaining the permission of the probation officer.
      16.     The defendant shall submit his/her person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. § 1030(e)(1)), or other electronic
              communications or data storage devices or media, or office, to a search conducted by a United States Probation Officer and such other law enforcement
              personnel as the probation officer may deem advisable, without a warrant. The defendant shall warn any other occupants that such premises may be subject
              to searches pursuant to this condition.
      17.     The defendant shall pay any financial obligation imposed by this judgment remaining unpaid as of the commencement of the sentence of probation or the term
              of supervised release in accordance with the schedule of payments of this judgment. The defendant shall notify the court of any changes in economic
              circumstances that might affect the ability to pay this financial obligation.
      18.     The defendant shall provide access to any financial information as requested by the probation officer and shall authorize the release of any financial
              information. The probation office may share financial information with the U.S. Attorney’s Office.
      19.     The defendant shall not seek any extension of credit (including, but not limited to, credit card account, bank loan, personal loan) unless authorized to do so in
              advance by the probation officer.
      20.     The defendant shall support all dependents including any dependent child, or any person the defendant has been court ordered to support.
      21.     The defendant shall participate in transitional support services (including cognitive behavioral treatment programs) and follow the rules and regulations of such
              program. The probation officer will supervise the defendant’s participation in the program (including, but not limited to, provider, location, modality, duration,
              intensity). Such programs may include group sessions led by a counselor or participation in a program administered by the probation officer.
      22.     The defendant shall follow the instructions of the probation officer related to the conditions of supervision.


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                                                                         SEX OFFENDER

                                                                 STANDARD CONDITIONS OF
                                                                      SUPERVISION
The defendant shall comply with the standard conditions that have been adopted by this court and any additional conditions ordered.
1.   The defendant shall have no direct or indirect contact, at any time, for any reason with the victim(s), the victim's family, or
     affected parties in this matter unless provided with specific written authorization to do so in advance by the U.S. Probation
     Officer.
2.   The defendant shall submit to a psycho-sexual evaluation by a qualified mental health professional experienced in evaluating
     and managing sexual offenders as approved by the U.S. Probation Officer. The defendant shall complete the treatment
     recommendations and abide by all of the rules, requirements, and conditions of the program until discharged. The defendant
     shall take all medications as prescribed.
3.   The defendant shall submit to risk assessments, psychological and physiological testing, which may include, but is not limited
     to a polygraph examination and/or Computer Voice Stress Analyzer (CVSA), or other specific tests to monitor the defendant's
     compliance with supervised release and treatment conditions, at the direction of the U.S. Probation Officer.
4.   The defendant's residence and employment shall be approved by the U.S. Probation Officer. Any proposed change in
     residence or employment must be provided to the U.S. Probation Officer at least 10 days prior to the change and pre-
     approved before the change may take place.
5.   The defendant shall not possess any materials depicting and/or describing "child pornography" and/or "simulated child
     pornography" as defined in 18 U.S.C. § 2256, nor shall the defendant enter any location where such materials can be
     accessed, obtained or viewed, including pictures, photographs, books, writings, drawings, videos, or video games
6.   The defendant shall register as a sex offender and keep the registration current, in each jurisdiction where the offender
     resides, where the offender is an employee, and where the offender is a student. For initial registration purposes only, a sex
     offender shall also register in the jurisdiction in which convicted if such jurisdiction is different from the jurisdiction of
     residence.

ADDITIONAL CONDITIONS:

   7.      The defendant shall not use, purchase, possess, procure, or otherwise obtain any computer or electronic device that can be
           linked to any computer networks, bulletin boards, internet, internet service providers, or exchange formats involving computers
           unless approved by the U.S. Probation Officer. Such computers, computer hardware or software is subject to warrantless
           searches and/or seizures by the U.S. Probation Office.
   8.      The defendant shall allow the U. S. Probation Officer, or other designee, to install software designed to monitor computer
           activities on any computer the defendant is authorized to use. This may include, but is not limited to, software that may record any
           and all activity on computers the defendant may use, including the capture of keystrokes, application information, internet use
           history, email correspondence, and chat conversations. The defendant shall pay any costs related to the monitoring of computer
           usage.
   9.      The defendant shall not use or have installed any programs specifically and solely designed to encrypt data, files folders, or
           volumes of any media. The defendant shall, upon request, immediately provide the probation officer with any and all passwords
           required to access data compressed or encrypted for storage by any software.
   10.     The defendant shall provide a complete record of all passwords, internet service providers, email addresses, email accounts,
           screen names, etc. (past and present) to the probation officer and shall not make any changes without the prior approval of the U.
           S. Probation Officer.




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                                                            STATEMENT OF ACKNOWLEDGMENT

I understand that my term of supervision is for a period of _______months, commencing on ____________________.

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.

I understand that revocation of probation and supervised release is mandatory for possession of a controlled substance,
possession of a firearm and/or refusal to comply with drug testing.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



(Signed)          ____________________________________ Date: _________________
                   Defendant

(Signed)          ____________________________________ Date: _________________
                   U.S. Probation Office/Designated Witness


 The Court gives notice that this case may involve other defendants who may be held jointly and severally liable for
payment of all or part of the restitution ordered herein and may order such payment in the future.




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